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                                          UNITED STATES DISTRICT COURT 	
                                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                                No. 2:12-md-02323-AB
    IN RE: NATIONAL FOOTBALL LEAGUE
    PLAYERS’ CONCUSSION INJURY                                  MDL No. 2323 	
    LITIGATION


                                                                Hon. Anita B. Brody
    Kevin Turner and Shawn Wooden, on behalf
    of themselves and others similarly situated,
                                                                Civ. Action No. 14-00029-AB
                                     Plaintiffs,

    v.

    National Football League and NFL
    Properties LLC, successor-in-interest to NFL
    Properties, Inc.,

                                     Defendants.


    THIS DOCUMENT RELATES TO:
    ALL ACTIONS



                  REPLY IN SUPPORT OF PETITION OF OBJECTORS PRESTON AND
                    KATHERINE JONES FOR AWARD OF ATTORNEYS' FEES FOR
                   SUCCESSFUL EFFORTS TO IMPROVE THE SETTLEMENT FOR
                           NFL EUROPE LEAGUE PLAYERS (ECF # 7364)

              Co-Lead Class Counsel's Omnibus Reply Memorandum in Further Support of Petition for
Award of Attorneys' Fees etc. ("Omnibus Reply")1 erroneously lumps in the Jones Objectors with
so-called "losing objectors" (page 36) who "unsuccessfully battled the Settlement" (page 1) and
tried to "scuttle the Settlement" (pages 3, 36). The Jones Objectors did not oppose the final

																																																													
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  ECF No. 7464. The Omnibus Reply is in part a reply to several oppositions filed against Class
Counsel's Petition for Award of Attorneys' Fees and Reimbursement of Expenses, and in remaining
part an opposition to three objector petitions for attorneys' fees, including that of the Jones
Objectors (ECF No. 7364). Page references herein are to the pagination of the original document,
rather than the ECF numbering.
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Settlement and were successful in their objection efforts, as measured by benefits accruing to the
Class.2

              Class Counsel's Omnibus Reply is totally silent on the point that a portion of the fees Class
Counsel is seeking is based on substantial NFL Europe-league playing-season benefits eligibility
that Class Counsel not only did not achieve, but actually worked (and billed time) to oppose. Class
Counsel's argument that objectors are collectively "outlandish" and "asking to be paid for acting
to the detriment of the Class" (Omnibus Reply at p. 36) completely flips reality in the context of
the benefits for Europe-league retired players. In that arena, it was not objectors who "lost" (id.);
objectors succeeded, and the Class substantially benefitted as the result. Class Counsel's own logic
directly supports a fee award to objector counsel rather than to Class Counsel for the Settlement's
Europe-league benefits. This logic applies to any basic award from the Attorneys' Fees Qualified
Settlement Fund, as well as the so-called five-percent "set-aside" Class Counsel has requested.3

              Further, as Class Counsel also argues, "'the court can easily evaluate not only the quality
of the objector’s work but also the impact it had on the court’s ultimate decision,' and it is thus
'able to measure the dollar value of the objector’s contribution to the class’s net recovery.'" ECF
No. 7464, Omnibus Reply at pages 37-38 (quoting In re Cendant Corp. Sec. Litig., 404 F.3d 173,
201 n.17 (3d Cir. 2005)). The Jones Objectors' fee petition (ECF No. 7364) attempted to present
																																																													
2
  In addition to arguing for NFL Europe league playing season credit, the Jones Objectors also
concurred in the Faneca Objectors' objection to the July 7, 2014 termination of eligibility for
benefits payable to survivors of retired players who died with CTE after preliminary settlement
approval. Even that additional objection achieved some success inasmuch as the Court's February
2, 2015 Order instructed that such survivor benefits be extended through the date of final approval
of the Settlement. The Jones Objectors seek no fees based on that interim enhancement.
	
3
  The logical point is unaffected by Class Counsel's perplexing assertion (Omnibus Reply at pp.
22-23) that its requested additional set-aside of five percent of monetary awards to claimants will
be paid or reimbursed by individual claimants' counsel (at least for those claimants who have
counsel at the time), rather than be diverted from benefits otherwise payable to claimants (which
is what the Settlement Agreement actually provides), even if the assertion were assumed to be
correct. But the assertion in fact appears as simply a wishful suggestion by Class Counsel, reflected
in a purported "example" in Section 21.1 of the Agreement. Neither current nor currently unknown
potential future individual claimant counsel were even parties to the Settlement Agreement, which
in any event makes no attempt at any provision or mechanism to reduce the impact of the set-aside
on a claimant who has retained or will retain counsel.
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all the potentially relevant papers to the Court on the Europe season credit enhancement, on the
expectation that this might assist the Court in doing exactly that.
       Class Counsel at times seems to suggest that any objectors who were not "first" to file their
brief must not have assisted the Court or helped the Class, noting that the Faneca Objectors (who
pressed objections on multiple grounds during the settlement approval process) filed their
objections to the June 25, 2014 proposed settlement eight days before other objectors, on October
6, 2014 (ECF No. 7464, Omnibus Reply at p. 64 n.61). Of course, that was also exactly eight days
before the October 14, 2014 deadline for objections set by the Court's July 7, 2014 preliminary
approval Order (ECF No. 6084), so the sequence of briefs was made virtually inevitable, and may
reflect a preference by the Faneca Objectors to be "first," as they were again with their attorneys'
fee petition to this Court (ECF No. 7070). In all events, in exercise of its "broad discretion" on
objector fees (Omnibus Reply at p. 37), the Court may certainly include consideration of whether
the order of the briefs affected their usefulness to the Court in any respect.
       Finally, Class Counsel curiously describes the Jones Objectors as "minor objectors" (ECF
No. 7464, Omnibus Reply at p. 63). This may have been intended to diminish their arguments
without fully engaging them. But the Jones Objectors' central concern was with the treatment of
NFL Europe league players in the June 25, 2014 proposed settlement, because like many retired
players, Preston Jones played most of his NFL career in Europe. On that issue, the Jones Objectors
were no more "minor" than any other objector or objector group; the voluminous and wide-ranging
briefs, expert declarations, and appeals that might render certain other objectors as comparatively
"major" litigation players are not logically relevant to the Court's evaluation of common benefit
counsel fees specifically for benefits achieved for Europe-league retired players and their families.
Again, it falls to the Court to assess the usefulness to the Court of the Europe-league season credit
objections leading to the Court’s February 2, 2015 Order (ECF No. 6479) declining to approve the
June 25, 2014 proposed settlement on enumerated grounds, which accordingly gave rise eleven
days later (ECF No. 6481-1) to what would become the final improved Settlement (see ECF No.
6509 at p. 4 & n. 1).


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       On the expectation that the Court will agree with Class Counsel that "losing" arguments
and indeed arguments advanced to the detriment of the ultimate interests of the Class do not
generally merit common benefit compensation, while successful efforts that demonstrably and
substantially benefit the Class do, the Jones Objectors respectfully request that the Court consider
their petition for a discretionary award of fees for the substantial European-league season credit
enhancement to the Settlement.


Dated: April 25, 2017

                                              Respectfully submitted,
                                              /s/	James	T.	Capretz	
                                              ________________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all counsel of record via the

Court’s ECF system on April 26, 2017.


                                             /s/	James	T.	Capretz	
                                             ________________________
                                             James T. Capretz


	




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